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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

CASE NO. 19-cr-86-REB-2

UNITED STATES OF AMERICA,

       Plaintiff,

v.


     2. BRAINARD CLARK,

       Defendant.


  DEFENDANT BRAINARD CLARKS’ UNOPPOSED MOTION FOR ENDS OF
JUSTICE CONTINUANCE AND FINDING OF EXCLUDABLE TIME PURSUANT TO
                     18 U.S.C. §3161(h)(7)(A)


       The Defendant, Brainard Clark, by and through CJA counsel, Peter Hedeen,

moves this Honorable Court for a second exclusion of 90 days from the speedy trial

calculation, pursuant to 18 USC section 3161 (h)(7)(A) and (B). See Bloate v. United

States, 130 S.Ct. 1345 (2010); United States v. Williams, 511 F.3d 1044 (10th Cir. 2007);

United States v. Toombs, 574 F.3d 1262 (10th Cir. 2009); United States v. West, 828

F.2d 1468 (10th Cir.1987). The Government has no objection to this request. Defendant

Damien Lewis has no objection to this request. The relief requested outweighs the

interest of the public, the Government, and the defendants in a speedy trial. The relief

requested serves the ends of justice by allowing for effective preparation for the reasons

stated below. In support of this motion, Mr. Clark states as follows:




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                            I. PROCEDURAL BACKGROUND

       1.     An indictment in the above-captioned case was filed with the Court on

November 21, 2019 charging Mr. Clark with five counts of burglary in violation of 18

U.S.C. § 2118 (b)(1) and 18 U.S.C. § 2.

       2.     Subsequent to these charges, on December 12, 2019, Mr. Clark was

sentenced in the 10th Judicial District, State of Colorado (El Paso County) court in

numerous cases. Resolution of these cases resulted in a sentence of 13 years in the

Colorado Department of Corrections.

       3.     On February 18, 2020, this Honorable Court granted Defendant Damien

Lewis’ Motion for an Ends of Justice Continuance (ECF # 94) and excluded time from

the speedy trial calculation until July 1, 2020.

       4.     On June 18, 2020, this Honorable Court ordered that any party seeking an

additional Ends of Justice Continuance and further extension of excludable time should

file such motion on or before June 29, 2020.

                                      II. AUTHORITY

       5.     In the context of addressing trial continuances, the Tenth Circuit has set

forth four factors that the court should consider. See West, 828 F. 2d at 1470. Those

factors are: (1) the diligence of the party requesting the continuance, (2) the likelihood

that the continuance, if granted, would accomplish the purpose underlying the request

for continuance, (3) the inconvenience to the opposing party, its witnesses, and the court

resulting from the continuance, and (4) the need asserted for the continuance and the

harm that could be suffered as a result of the court’s denial of the continuance. See id.

No single factor is determinative. See id.

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       6.      Title 18 U.S.C. §3161(h)(7)(A) provides that a Court shall exclude a period

of delay from computing the time within which a trial must commence where “the ends of

justice served by taking such action outweigh the best interest of the public and the

defendant in a speedy trial.” The factors to be considered in such an evaluation are

listed at 18 U.S.C. § 3161(h)(7)(B)(i)-(iv).

       7.     Pertinent factors that apply to an “ends of justice” finding in the present
case include:

(i) Whether the failure to grant such a continuance in the proceeding would be likely to
make a continuation of such proceeding impossible, or a result in a miscarriage of
justice.
....
(iv) Whether the failure to grant such a continuance in a case which, taken as a
whole, is not so unusual or so complex as to fall within clause (ii), would deny the
defendant reasonable time to obtain counsel, would unreasonably deny the defendant
or the Government continuity of counsel,or would deny counsel for the defendant or
the attorney for the Government the reasonable time necessary for the effective
preparation, taking into account the exercise of due diligence.
See 18 U.S.C.§1361(h)(7)(B)(Westlaw 2016). See also, United States v. Toombs, 574
F. 3d 1262, 1268-69 (10thCir. 2009).

       8.      The decision to grant an “Ends of Justice” continuance is within the sound

discretion of the Court, and is reviewed under an abuse of discretion standard. See

Toombs, 574 F. 3d at 1262. “Adequate preparation time is a clearly permissible reason

for granting a continuance and tolling the Speedy Trial Act.” United States v. Gonzales,

137 F. 3d 1431, 1435 (10thCir. 1998). The Supreme Court has recognized that

“subsection (h)(7) expressly accounts for the possibility that a district court will need to

delay a trial to give the parties adequate preparation time” to ensure that the ends of

justice are met, and that “subsection (h)(7) provides ‘much of the Act’s flexibility.’”

Bloate, 130 S. Ct. 1345 (2010).



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                                        III. ARGUMENT

       9.      The ends of justice are best served by excluding an additional 90 days

from the speedy trial calculations thereby allowing Mr. Clarks’ counsel to adequately

prepare for pretrial and trial.

       10.     Mr. Clark is not requesting a finding of complexity under subsections

(h)(7)(B)(ii) or (iii), but rather, is requesting a determination that the ends of justice will be

served by the granting of the requested continuance because “the failure to grant such a

continuance in the proceeding would . . . result in a miscarriage of justice” and “would

deny counsel for the defendant . . . reasonable time necessary for effective preparation.”

18 U.S.C. 3161(h)(7)(B)(iv).

       11.     The Government has disclosed all relevant Discovery to Mr. Clark. This

disclosure includes over 1000 pages of written materials and spreadsheet documents

including numerous pages relating to search warrants and records documenting

numerous telephone calls. In addition there are at least 29 separate surveillance videos

in discovery. Undersigned Counsel has been diligently reviewing and analyzing these

materials since there disclosure. At this time Undersigned Counsel can inform the Court

that numerous hours are needed to review and evaluate discovery, research and

prepare for motions, conduct adequate investigation, and prepare exhibits, materials,

questions and arguments for trial.

       12.     In addition, the related Colorado state court convictions require review and

investigation insofar as they are relevant factually to this federal indictment, as well as

the sentence handed down in those cases and their impact on this prosecution.

Undersigned Counsel has likewise been researching and reviewing court records and

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other information relating to these convictions.

        13.   Complicating all of Undersigned Counsels’ diligent efforts to prepare for

Mr. Clark’s defense is the Coronavirus pandemic which struck shortly after the court

excluded time under the speedy trial calculation on February 18, 2020. Specifically,

Undersigned Counsel has been severely limited in his ability to meet with Mr. Clark to

review, discuss, and prepare materials and motions in this case and to discuss a

potential resolution of this case. As the Court is aware, Mr. Clark is being held at the

Douglas County Jail. Due to the pandemic, visitation has been limited to 30 minute video

conferencing which does not easily facilitate the review of documents and the lengthy

discussion needed in the preparation of Mr. Clark’s defense and to discuss plea

negotiations and the implications of a guilty plea.

        14.   The Coronavirus pandemic has also greatly inhibited Undersigned

Counsels’ ability to obtain and review documents related to this case, investigate the

circumstances of the alleged offenses, and to negotiate a potential resolution of this

case.

        15.   Undersigned Counsel will continue to diligently pursue the defense of this

case. However, the nature and facts of the case, including but not limited to the amount

of discovery and the investigation and consultation required to be done once discovery

is complete, are such that no amount of diligent work can ensure effective assistance of

counsel prior to the potential motions deadline and trial date as contemplated by the

current speedy trial time-frame.

        16. Undersigned Counsel spoke to Mr. Clark and he does not object to a further

exclusion of 90 days from the speedy trial deadline in order to ensure that his counsel

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has sufficient time to prepare the case for motions and trial.

       17. Undersigned Counsel has been in contact with Assistant United States

Attorney Jason St. Julian, and he has no objection to the requested continuance.

       18.Undersigned counsel contacted defense counsel for the other remaining

defendant Damien Lewis, Mr. David Kaplan, and he has no objection to the requested

continuance;

       19.     This case meets the criteria set forth in both 18 U.S.C. § 3161(h)(7) and

West. Mr. Clark requests that this Court vacate the current motions hearing and

continue the trial for ninety (90) days. There is little or no inconvenience to any of the

other parties and there is a need for additional time for Undersigned Counsel to prepare

for motions and trial. Failure to grant sufficient time for counsel acting with due diligence

to perform the tasks set forth above would likely result in a miscarriage of justice.

       20.     Undersigned counsel believes that the extension would serve the

requested purpose and allow for the completion of discovery as well as the necessary

preparation for trial.

       21.     Based on the foregoing, and consistent with United States v. Toombs, 574

F.3d 1262 (10th Cir. 2009), Mr. Clark respectfully requests the Court to: 1) exclude an

additional 90 day period from the speedy trial calculation; and 2) set the case for a

status conference and further proceedings, or order the parties to contact Court

Chambers, in order to set a status conference and a hearing on motions and trial.




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Dated this Friday, June 26 2020.

                                   Respectfully submitted,



                                   __S/Peter Hedeen___
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                           CERTIFICATE OF MAILING

       I hereby certify that on Friday, June 26, 2020, I electronically filed the foregoing
with the Clerk of the Court using the court’s ECF system which will send notification of
such filing to all counsel of record and the following e-mail address:


Jason St. Julien, Assistant United States Attorney
jason.st.julien@usdoj.gov


And, I hereby certify that I have mailed or served the document or paper to the
following non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated
by the non-participant’s name:

Mr. Brainard Clark (via US Mail)


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